         _____________________________________
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         MICHAEL JAY BERGER (State Bar # 100291)
     1   SOFYA DAVTYAN (State Bar # 259544)
         LAW OFFICES OF MICHAEL JAY BERGER
     2   9454 Wilshire Blvd. 6th Floor
         Beverly Hills, CA 902 12-2929
         Telephone:     (310) 271-6223
         Facsimile:     (310) 271-9805
         michael.berger@bankruptcypower.com
     5   sofya.davtyanbankruptcypower.com

     6   Proposed Counsel for Debtor and Debtor-in-Possession,
         Mr. Tortilla, Inc.
     7
     8                               UNITED STATES BANKRUPTCY COURT

                                      CENTL DISTRICT OF CALIFORNIA
10
                                       SAN FERNANDO VALLEY DIVISION
11
         Inre:                                           ) CASENO.: 1:24-bk-10228-VK
12
1
                                                      ) Chapter 11
         Mr. Tortilla, Inc.,                          )
14
15                     Debtor and Debtor-in-Possession.) NOTICE OF HEARING ON (I)
                                                        ) DEBTOR’S EMERGENCY MOTION
16                                                      ) FOR ORDER A UTHORIZING INTERIM
                                                        ) USE OF CASH COLLA TERAL PURSUANT
17                                                     ) TOll U.S.C. p363; (2) DEBTOR’S
                                                       ) EMERGENCY MOTION FOR ORDER
18                                                     ) AUTHORIZING PAYMENT OF PRE
                                                       ) PETITION WAGES AND RELATED
19                                                     ) EXPENSES MEMORANDUM OF
20
                                                       ) POINTS AND AUTHORITIES;
                                                       ) DECLARATION OF ANTHONY
21                                                     ) ALCAZAR IN SUPPORT THEREOF
                                                     )
22
23                                                   )    Date     February 22, 2024
                                                     )    Time:    2:00 p.m.
24                                                   )    Cirm:    301 [via ZoomGov]
                                                     )    Place:   21041 Burbank Blvd.. 3 Floor
25                                                   )             Woodland Hills, CA 91367

26
27
28

                                                      1

                               NOTICE OF HEARING ON DEBTOR’S EMERGENCY MOTIONS
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     1           TO THE HONORABLE VICTORIA S. KAUFMAN, JUDGE OF THE UNITED
 2       STATES BANKRUPTCY COURT, TO THE OFFICE OF THE UNITED STATES
 3       TRUSTEE, TO SECURED CREDITORS, 20 LARGEST UNSECURED CREDITORS,

         AND TO ALL INTERESTED PARTIES AND THEIR COUNSEL OF RECORI):
 5
 6               PLEASE TAKE NOTICE that the hearings on (1) Emergency Motion for an Order

         Authorizing Interim Use of Cash Collateral Pursuant to 11 U.S.C. § 363; and (2) Debtor’s

         Emergency Motion For Order Authorizing Payment Of Pre-Petition Wages And Related
 9
         Expenses Memorandum of Points and Authorities will take place on February 22, 2024 at 2:00
10
         p.m. in Courtroom 301 of the above-referenced Courthouse located at 21041 Burbank Blvd.. 3t

12       Fl., Woodland Hills, California 91367.
13               PLEASE TAKE FURTHER NOTICE that any oppositions and replies may be made
14
         orally at the hearing.
15
                 The hearing will be held remotely via ZoomGov
16
17       Join CACB ZoomGov Meeting Video/audio web address:
         https://cacb.zoomgov.com/j/1 616957480
18       Meeting ID: 161 695 7480
         Password: 828260
19
         Join by Telephone
20       Telephone conference lines: 1-669-254-5252 OR 1-646-828-7666
         Meeting ID: 161 695 7480
21       Password: 828260
22                                       LAW OFFICES OF MICHAEL JAY BERGER
23
24       Dated: 2/20/2022             By:/s/Michael Jay Berger
25                                     Michael Jay Berger
                                       Proposed Counsel for Debtor and Debtor-in-Possession.
26                                     Mr. Tortilla, Inc.
27
28

                                                       2

                            NOTICE OF HEARING ON DEBTOR’S EMERGENCY MOTIONS
             __________________,

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                                           PROOF OF SERVICE OF DOCUMENT

 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 9454 Wilshire Blvd., 6ti Fl., Beverly Hills, CA 90212


 A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON (1)
 DEBTOR’S EMERGENCY MOTION FOR ORDERAUTHORIZING INTERIM USE OF CASH
 COLLATERAL PURSUANT TOll U.S.C. 363; (2) DEBTOR’S EMERGENCY MOTION FOR
 ORDER AUTHORIZING PAYMENT OF PRE-PETITION WAGES AND RELATED EXPENSES
 MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY
 ALCAZAR IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form
 and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/20/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

I)ebtor’s Proposed Counsel: Michael Jay Berger rnichael.bergerbankruptcypower.corn,
  ith ci t ii ph ci h inki LIptL 0\\ ci corn m IL Ii id bet gci it u. I in lot uj)tc) corn
U.S. Trustee: Katherine Bunker kate.bnnkcrtuscloj.oov
United States Trustee (SV) ustpregion16.wh.ecfusdoj.gov


                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                       I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                       D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/20/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Victoria Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard, Suite 354 / Courtroom 301
Woodland 1-lills, CA 91367 United States Bankruptcy Court

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/20/2024                       Yathida Nipha                                                  /s/Yathida Nipha
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California


June 2012                                                                                           F 90133.1.PROOF.SERVICE
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3. Served by Email:

U.S. Trustee:
Katherine Bunker
kate.bunkeriiusdoj .eov

SECURED CREDITORS:

8FIG Advance
Attn: Legal Dept.
legal a’ Sfi.com

Amazon Capital Services:
Attn: Lauren Dorsett & Michael Gearin
I aurendorsettad\vt.con1
mike.gearini’klgales.com

Blue Bridge Financial
Attn: Legal Dept.
Leala’ hi uebrideflnancial .com

B luevine
Attn: Officer
SuppIt’ahlue\.mc.eorn

Cedar Advance
Attn: Simon Cedar
 [non. acedaradvance.com

Corporation Service Company
SPRl:iiinnI:cscelohal.eorn

CT Corporation
uccfi ngreturn@woterskluwer.com


Fasanara Securitisation S.A. Acting
ininrthd ata .com

Financial Pacific Leasing
Attn: Allison Sweet
ASweei l’i nPac .com
            ‘:




First Corporate Resolution
SPRS@FICOSO.COM

Huntington Valley Bank
Attn: Erin
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 901 33.1.PROOFSERVICE
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 Mercury Capital
 in 1O()1 lic d\o fl

 Metropolitan Capital Bank & Trust
 Attn: Jeffrey Brown
 rrabinthompsoncoburn.com ; j h1’(vtholnpsoncohurn.com

 Parkside Funding Group LLC
 Attn: Adriana Harris
 Aclrianatnomasrecovcry.con

Partners Personnel Management Services, LLC
Attn: Cherly Canty
C(it__acspen.rhoIdings.cotn

Robert Reiser and Company
ucctIling1etu1flU\\OItcrskluwer.cotfl

Sand Park Capital
Attn: Simon Cedar
simon(aeedaradvancc.eom

Sellers Funding
Attn: Officer
osaro ascl lcrst .com


Shopify Capital
Legalahluebridgclinancial.com

Slope Advance
Attn: Ashish Jam
ashish7a slope.com

Spartan Capital
Attn: Jason Gang
jason:’aasongang.com

Stor RB One Limited
Ilecli Ii naieturnc,’voIterskluver.con


U.S. Business Administration
Attn: Elan Levey
clan. le C\ a usdol .LOV




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June 2012                                                                                           F 901 33.1.PROOF.SERVICE
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 20 LARGEST UNSECURED CREDITORS

 Easy Post
 Attn: Dustin 1-lenrie
 (1 hen rieI easy post .com


 Facebook
 Attn: Anthony Miller
 \n thonv. Nh I Ier(urad i Usgs.com

 Fleetcor Technologies Inc.
 Attn: Offeer
 PartnerServieesiFIeetC’or.com

Greenberg Traurig
Attn: Reid Hockaday
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IRS
Attn: Officer
 lrs.gov.webs!Ie.helpdesk’clspeed\lnail.com

Lyneer Staffying
Attn: Billing Dept.
bihhipglvneer.com

Parker Group Inc.
Attn: Larry Nessenson, Esq.
lnessenson’i;jafieandasher.eon

Ramp
Attn: Officer
eoniinin1cations(arainp.Con


Jeeves
lcrr\’u4rvjeevcs.com

Southern California Edison
nethiIl4scc.com

UPS
Attn: Mary Kay
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We Pack it All
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           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June2012                                                                                           F 901 3-3.1.PROOF.SERVICE
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  Rapid Fulfillment LLC
  Attn: Adam Brumage
  A f3rumage(collectinoorc.coni

  Frisbi
  bilIiflLJ’alrisbi.Cofl1

 Taboola
 Attn: Fred Sampliner
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 MNTN
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 Bakers Authority
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June 2012                                                                                           F 90133.1.PROOF.SERVICE
